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                                 UNITED STATES DISTRICT COURT
                                     DISTRICT OF VERMONT


MISTY BLANCHETTE PORTER,                       )
M.D.,                                          )
          Plaintiff,                           )
                                               )
        v.                                     )                       Docket No. 2:17-CV-194
                                               )
DARTMOUTH-HITCHCOCK                            )
MEDICAL CENTER,                                )
DARTMOUTH-HITCHCOCK                            )
CLINIC, MARY HITCHCOCK                         )
MEMORIAL HOSPITAL, and                         )
DARTMOUTH-HITCHCOCK                            )
HEALTH,                                        )
          Defendants.                          )


                                 Plaintiff’s Updated Witness List


    1. Dr. Robert L. Bancroft - Economist
    2. Sharon Parent – Retired DH Nurse
    3. Dr. Misty Blanchette Porter - Plaintiff
    4. Dr. Julia MacCallum – Former DH Resident
    5. Dr. Leslie DeMars– Former DH OB/GYN Chair
    6. Jenice Gonyea – DH Sonographer
    7. Dr. Karen George – Former DH OB/GYN
    8. Dr. Ira Bernstein – Former Chair UVM OB/GYN
    9. Dr. Michelle Russell– DH OB/GYN
    10. Victoria Maxfield – DH Nurse
    11. Dr. Joanne Conroy – DH CEO
    12. Dr. Ed Merrens – DH Chief Clinical Officer
    13. Dr. Maria Padin – DH CMO Southern Region


        Plaintiff has revised the witness list to reflect the remaining witnesses in her case-in-

chief. Plaintiff reserves the right to call any witness from her March 10, 2025 Witness List in

rebuttal.
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                                                  Respectfully submitted,



Dated: March 30, 2025                             /s/ Geoffrey J. Vitt
                                                     Geoffrey J. Vitt, Esq.
                                                      Vitt & Nunan, PLC
                                                      8 Beaver Meadow Road
                                                      P.O. Box 1229
                                                      Norwich, VT 05055-1229
                                                      (802) 649-5700
                                                      gvitt@vittnunanlaw.com

                                                    Eric D. Jones, Esq.
                                                    Langrock Sperry & Wool, LLP
                                                    210 College Street
                                                    P.O. Box 721
                                                    Burlington, VT 05402
                                                    (802) 864-0217
                                                    ejones@langrock.com

                                                    Sarah H. Nunan, Esq.
                                                    Vitt & Nunan PLC
                                                    8 Beaver Meadow Road
                                                    P.O. Box 1229
                                                    Norwich, VT 05055
                                                    (802) 649−5700
                                                    snunan@vittnunanlaw.com

                                                    Attorneys for Plaintiff,
                                                    Misty Blanchette Porter, M.D.
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                                  CERTIFICATE OF SERVICE
I hereby certify that, on March 30, 2025, a copy of the foregoing document was electronically
filed through the ECF system and will be sent electronically to all persons identified on the
Notice of Electronic Filing.


                                                           /s/ Geoffrey J. Vitt_______
                                                           Geoffrey J. Vitt
